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    Encyclopedia of Cognitive Science

    User Interface Design

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    This article covers the basic issues that the field of cognitive science raises in the design
    and testing of new digital technologies for human use.

    1. Introduction

    The design of computer interfaces that are usable and easily learned by humans is a non-
    trivial problem for software developers. As information technologies mediate many of the
    activities we now perform routinely as part of our lives, the attention paid to the process
    of human-computer interaction is enormous. Since much of the process of interaction is
    cognitive in nature, involving perception, representation, problem solving, navigation,
    query-formulation and language processing, the theories and methods of cognitive
    science are viewed as directly relevant to such concerns. The result has been the
    emergence of an applied cognitive science for software design that is known as the field
    of Human-Computer Interaction or HCI.

    2. Cognitive Science and design

    Traditional cognitive science approaches to HCI and user interface design model the user
    as made up of three basic components: the psychomotor, perceptual, and cognitive sub-
    systems. Recent treatments of HCI have extended these to include the social system as a
    core part of the users make-up and placed greater emphasis on group dynamics and social
    context in examining what users do with technology. Any full treatment of user
    psychology must embrace all components, though it remains the case that cognitive
    issues dominate most research in HCI.

    3. The Basics of Human-Computer Interaction:

    The success of any computer application is dependent on it providing appropriate
    facilities for the task at hand in a manner that enables users to exploit them effectively.




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    Whereas the provision of facilities is an issue of functionality, the user interface is the
    means by which the functionality can be exploited, and here we are directly concerned
    with usability.

    For interaction to proceed the human user must input a signal to the computer and
    perceive changes in the interface. Since much of current interaction involves physical
    input and visual perception of output, any basic interactive device must convey an input
    device and a screen. However, to determine the appropriate input the user must have
    some representation of a goal or intention of an outcome to attain, necessitating the
    employment of memory, both short (to handle current status information) and long-term
    (to enable the planning and interpretation of the interactive sequence).

    Information undergoes transformation at each stage of progression from a perceived
    stimulus (e.g. a visual change in the interface) to a comprehended cue (e.g. a recognised
    sign) leading to an active response (e.g. push a mouse button). All of this happens
    repeatedly and rapidly as the human interacts with the system. This process can be simply
    envisioned using a variant of Neissers classic perceptual cycle model, whereby users
    engage in an ongoing cycle of information exchange involving exploration of a changing
    information environment (see Figure 1).




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    Insert Figure 1 Human Computer Interaction as iterative process

    For example, any current interface provides a response to user input which signals to the
    user that their input has caused an action. Through direct manipulation, users can select
    and move objects on screen, open and close windows with a mouse click, or jump from
    place to place within documents via hyperlinks. In each case, the user must initiate an
    action and the interface must communicate its change of state through appropriate
    feedback to the user. Where feedback is vague, too rapid or non-existent, the user is
    likely to be confused as to the impact of their actions. Ideal feedback communicates to
    the user that the system status has altered in the intended manner and the user is closer to
    their goal as a result.

    We can usefully understand HCI as a cognitive process by considering the human as
    possessing general knowledge structures (mental models, schemata, etc.) which organise
    the users task-oriented information exploration and use. This exploration, which may
    involve a host of psycho-physical actions such as keypresses, scrolling, link selection,
    command input etc., exposes the human to samples of the information space contained
    within the software, the perception of which must be interpreted and categorized, before




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    it in turn can influence the subsequent actions of the human and so forth in an iterative
    fashion.

    This is a very general portrayal of user psychology. Its purpose is to convey the active
    nature of cognition and show how humans select information on the basis of expectation
    and prior experience and how the selected information can itself modify the knowledge
    structures within the human. Thus, while the general model holds true, in the interface
    design context, any one user is likely to have unique experiences and knowledge, which
    will influence their perception of, and interactions with a computer. Software designers
    are now very aware of the affect interface design has on the user experience of their
    products and as a result have sought guidance and input from cognitive scientists as to
    how best to design interfaces for usability and human acceptance.

    The response from the cognitive community has been threefold: the derivation of design
    guidelines to aid designers; the formulation of theoretical models to predict user response
    in specific instances; and the development of design methods and evaluation techniques
    to improve the process of user-centered design.

    4 Cognitive Design Guidelines: from psychophysics to semiotics

    Since cognitive science has derived tremendous understanding of the mechanisms and
    processes underlying perception, memory, attention, categorisation, decision-making,
    comprehension and related processes and structures, it is reasonable to assume that such
    findings are very relevant to practical design issues. For interfaces, we need to consider if
    users will perceive actions and behaviors, how they will interpret them, what demands
    our designs place on their attention, what knowledge they will need to interpret and
    respond in a manner acceptable to the software. There have been many attempts to bridge
    the gap between scientific findings and software design, and a full set of guidelines
    drawn from studies of cognition could run to several volumes. As a result, much re-
    packaging of cognitive science has taken the form of general guidelines for designers to
    consider. The following represent a generic set that have gained broad acceptance by




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    most interface designers. In each case, the linkages with cognitive science should be
    readily apparent to the reader.




    4.1 Screen readability and image quality

    To perform most information tasks with a computer the user must be able to extract and
    process visual stimuli reliably and quickly. Early computer screens suffered from a
    variety of technological limitations that resulted in slower reading of electronic text than
    paper, or constrained the range of representations possible on screen. Current design
    guidance recommends the use of high resolution screens with strong image polarity
    (preferably dark on light) to enhance human perception. Standard design advice is to
    produce all interfaces so that they can work in monotone and to add color sparingly to
    guide visual processing, attract attention, and aid chunking. As we interact more and
    more with screens, both large and small, the importance of readability cannot be
    overlooked, and poor visual ergonomics can prevent otherwise sophisticated software
    from being fully exploited.

    4.2 Manipulation and input devices

    While the typical computer of today is a desktop model with a keyboard and a mouse,
    there are now many variants and alternatives such as PDA (Personal Digital Assistants)
    or laptop computers. These tools are designed for mobility, and use a stylus or trackpad
    as an input mechanism. Where once punched cards were the primary medium of
    interaction, the emergence of so-called Direct Manipulation interfaces has advanced the
    exploitation of natural mappings between pointing and positioning found in the real
    world with the control of objects in a digital environment. Immersive environments take
    this to the logical stage of creating a virtual world where users perform physical actions,
    much like the real world, to affect responses from the software.

    Studies of input devices have revealed that a mouse is fairly optimal for most standard
    pointing and clicking tasks, and that user reaching and target selection follow the basic
    parameters of Fitts Law. However, where few on-screen selections are available, or



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    where the use of a mouse would not work well (e.g., in a mobile application), touch
    screens with pre-defined tabbing zones have proven suitable, and there are claims of
    rapid input speeds with stylized input such as Graffiti (a simplified, single stroke script
    designed for writing in a natural pen-based manner with the well-known Palm Computing
    series of devices). The QWERTY keyboard remains dominant despite evidence that more
    optimal keyboard layouts could be designed, hinting at one important aspect of design
    that is beyond the control of science, the influence of precedent, habit and market forces.

    4.3 Supporting accurate mental model formation

    Contemporary work on HCI uses the concept of mental model extensively. The basic
    assumption is that users must try and understand what is happening with a system when
    they issue commands and since much of the activity is hidden, they have to rely on
    inference. Depending on their knowledge of computing or the task being performed,
    users may infer correctly or incorrectly, but each user develops their own image of the
    technology and how it works (though these may be broadly similar across many users).

    HCI research suggests that designers should regard models as mental scaffolding upon
    which users hang their ideas about how the system works. The user's model is a
    personalised, often idiosyncratic view of what the system does and how it does it. The
    designer should seek to make important aspects of the design transparent, coherent and
    supportive. Another source of the users mental model is prior experience particularly
    with related products. If the user has worked with another system or an older version of
    the existing system then that is bound to influence their perception of the new technology
    since their existing schemata will all be brought to bear on their initial interactions. The
    users experience of performing the tasks is also a contributing factor in the development
    of their model, and designers are advised to exploit the language, mappings, relationships
    among concepts, and procedures used by the target audience in creating an interface.

    4.4 Use of metaphors to enhance comprehension and learning

    Another generic aspect of human cognition that seems readily exploitable by designers is
    the reliance of human thinking on metaphors and analogies. Linked to the general




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    tendency to model and to learn by analogy, the logic behind metaphors is that they enable
    users to draw on existing world knowledge to act on the new domain.

    There has been much discussion within HCI of the merits of the metaphor approach in
    dialogue design, and it is argued that there are two relevant dimensions for understanding
    the information metaphors convey: scope and level of description. A metaphors scope
    refers to the number of concepts to which it relates. A metaphor of broad scope in the
    domain of HCI is the desk-top metaphor common to many computing interfaces. Here,
    many of the concepts a user deals with when working on the system can be easily dealt
    with cognitively in terms of physical desk-top manipulations. The metaphor of the World
    Wide Web as an information superhighway is similarly broad. The typewriter metaphor
    that was often invoked for explaining word processors is far more limited in scope. It
    offers a basic orientation to using word processors (i.e. you can use them to create print
    quality documents) but is severely limited beyond that as word processors do not behave
    like typewriters in many instances (e.g., typewriters do not save and store files, allow
    easy reformatting of text or make instant copies of documents).

    The metaphors level of description refers to the type of knowledge they are intended to
    convey. This may be very high level information such as how to think about the task and
    its completion, or very low, such as how to think about particular command syntax in
    order to best remember it. Theorists in HCI talk of four levels: task, semantic, lexical and
    physical which refer to general issues such as: Can I do it?; What does this command
    do?; What does that term mean? and What activities are needed to achieve that?
    respectively.

    Few, if any, metaphors convey information at all levels but this does not prevent them
    being useful to users. In fact, few users ever expect metaphors to offer full scope and
    levels of description so any metaphor employed should have its limitations and
    exceptions clearly pointed out. If the user cannot easily appreciate the metaphorical
    aspects and functional relations that are or are not essential to its use then the power of
    the metaphor will be greatly reduced. Of all the cognitive science concepts used in HCI,
    metaphor has proved one of the most durable and accepted.




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     4.5 Learning by doing

     The most successful systems are those that enable a user to get something done as soon as
     possible. Users tend to be very resistant to reading any accompanying documentation and
     often want to get on with real tasks immediately rather than follow any training guides. In
     this sense, error-free performance is not considered a real goal. Instead, cognitive
     scientists emphasise the importance of clear and informative feedback, and the ability to
     undo actions as more important in supporting the user through the learning curve.

     Having gained some knowledge by using one part of a system, users will expect to be
     able to apply this throughout the system. Particular attention should be paid to the
     consistent use of terms, colours and highlighting techniques, and the positioning of task
     related zones on the screen so as to support generalization by the user. Consistency can
     also be important to maintain between systems say the old and the new versions. The
     benefits of a new system can easily be obscured if users feel that their existing knowledge
     is now redundant and they must learn the new system from scratch.

     4.6 Minimizing attentional and cognitive load

     Theoretical insights into cognitive architecture emphasize the memory and attentional
     constraints of humans. These lessons have been learned by the HCI community who
     argue that interaction sequences should be designed to minimise short term memory load
     (e.g. not demanding a user choose from an excessive number of menu items; requiring
     the user to remember numbers or characters from one screen to another, etc.). Since
     recognition memory is superior to absolute recall, the use of menus is now the norm in
     design compared to the command line interfaces of the 1980s, which required users to
     memorise control arguments.

     Similarly, a major contribution of cognitive science perspectives to user interface design
     has been in the area of task sequencing. User interface designers are encouraged to
     minimise the number of steps where information must be retained by the user. Instead,
     designers are encouraged to provide all necessary information in the interface for the user
     to exploit as needed. The use of animation is recommended only where a process is being
     explained, although many designers deliberately exploit the natural human perceptual



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     tendency to attend to movement by using animation to capture attention, particularly for
     advertisements in web-based commercial sites.

     4.7 Using images and icons

     Screen real-estate is a limited commodity and designers continually seek means of
     conveying concepts and actions through the language-independent medium of signs,
     images and symbols. A secondary push for more iconic interfaces is their presumed
     ability to cross cultural boundaries and enable international use.

     Semiotic approaches to design have been invoked to help designers create appropriately
     comprehensible icons but the results have been mixed. Current interfaces make extensive
     use of graphic capabilities and iconic representations but couple these with pop-up text
     labels that explain meaning to users who find the representations difficult to decipher.

     5. Beyond guidelines Cognitive theories and models in HCI

     It is not yet possible to talk of a complete theory of human-computer interaction, given
     the many activities, processes, and tasks that computers support. However, to overcome
     the piecemeal approach that results from repeated empirical tests of evolving interface
     features, attempts have been made to produce stronger theoretical models to guide
     interface designers. This approach has worked best where it has been constrained to
     explain specific or localised interactive phenomena rather than the full range of user
     responses to information technology.

     5.1 Interaction as Serial Information Processing

     Cognitive scientists have derived many findings about human information processing,
     and this knowledge has been distilled in the area of HCI into a form of engineering model
     of the user that can be exploited by designers. Generally referred to as the model human
     processor, this cognitive model enables interface designers to predict the time a user will
     take to complete a task sequence given an analysis of the cognitive, perceptual and
     psychomotor components that are applied at each step. For example, to determine how
     long it would take a user to complete the task sequence involving saving a file to hard




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     disk, consider the following data points, derived from years of laboratory studies of
     humans to provide indices of various interactive acts:


     Label      Action                                   Time estimate (seconds)
     Tk         Enter a keystroke                        0.23
     Th         Move hands to mouse                      0.36
     Tp         Time to point                            1.5
     Tm         Retrieve from memory                     1.2
     Tr         Time for computer to respond             1.2


     Table 1 Time estimates for completion of basic interactive tasks by a human
     operator

     To apply such a model model, the evaluator would first compute the basic steps a user
     must take with an interface. We can imagine a proposed design that requires the user to
     locate the mouse (Th) move the mouse to a menu (Tp), select the save command (Tp),
     allow the system to respond with a prompt (Tr) input the filename (Tk x No.of letters)
     and then hit a save button (Tk). The designer could very quickly use the estimates from
     Table 1 to calculate how long a user would take to perform this sequence and use these
     data to determine trade-offs in the proposed design.

     The exact value of the estimates can be argued over, but the principle of the model
     human processor is constant, i.e., decompose the task into its constituent actions and
     calculate the time involved in the serial processing of these acts. Multiple applications of
     this method have confirmed its value in estimating expert or error-free task completion
     times for repetitive, non-discretionary tasks.

     Of course, this model has its limitations. We cannot use it to estimate how long users will
     spend on tasks that are not highly practiced, or that require decision making, planning, or
     learning. Similarly, where tasks involve parallel processing, it is easy to overestimate
     times by assuming simple serial processing of the task actions. However, as an applied




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     model of cognition for a constrained range of routine and well-practiced tasks, such a
     technique is clearly useful.

     There have been several extensions of this approach, most notably to cover learning.
     Based on a production system analysis, (describing the behaviour a user must learn to
     complete a task in terms of a series IF-THEN rules of interactive sequences, e.g., IF file
     is "new" THEN select menu option "New File" etc.) Cognitive Complexity Theory
     enables calculation of the estimated time it would take a user to learn a new procedure.
     According to current findings, each new If-THEN rule production will take a typical user
     approximately 25 seconds to learn. Armed with such knowledge, designers could
     estimate, for example, the costs involved in changing procedures or violating consistency
     of interaction with new designs. This is obviously a gross estimate but for many
     proceduralised tasks, the data indicate the underlying regularity of human performance.

     5.2 Socio-cogntive analyses of HCI: activity theory and acceptance models

     An alternative application of cognitive theory has emerged as HCI researchers became
     interested in user acceptance of computers and the exploitation of technology by groups
     of users. Such research draws less on the classic experimental base of laboratory findings
     within cognitive science and more on its social and anthropological traditions. I have
     classified these together under the general heading of socio-cognitive theories.

     Activity theory aims to bring a closer reading of cultural forces to bear on our analyses of
     interaction. Users are seen as situated within a context that exerts strong forces on their
     actions. Furthermore, such users are dynamic, changing as their experience and
     application of technology changes. Taking an activity theory perspective on HCI, it is
     important to extend analyses of interface usability to cover the context in which the
     technology is used (or rejected).

     Typical activity theoretic approaches examine HCI in terms of the praxis, or situated
     context, e.g., a banking organization, a teaching scenario, or a medical process, in which
     the various levels of interaction can run from automatic individual operations to
     collective ventures or activities that define the groups purpose. The analysis and design of




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     any technology needs to be grounded in such a broader perspective to ensure it is
     appropriate and usable by the intended user community. In this way, one can see activity
     theory as extending traditional cognitive approaches rather than replacing them.

     Other social-oriented approaches to HCI that consider cognition include the general class
     of acceptance theories that seek to predict if a user, given some choice, will utilise a
     technology. Such models emphasise the perceived value that users place on the new
     technology, and measure the relationship between such ratings and subsequent behaviour
     in context. For example, it is now known that if a user perceives a new tool as having
     direct usefulness for them in their work, they will be more likely to choose it, and may
     trade-off certain ease of use attributes for the power it affords them. Such perceptions by
     users seem to be formed very quickly, often within minutes of interacting for the first
     time, placing special emphasis on the value of early impressions due to aesthetics,
     implementation style and related factors.

     Theoretical developments in HCI have not kept pace with developments in technology,
     partly because of the speed of technological change but, more likely, due to the difficulty
     of translating cognitive science into rich theoretical models that predict human behavior
     in multiple contexts. While there is an occasional dismissal of the theoretical approach as
     too limited for practical application, most HCI professionals are of the view that long-
     term progress is only possible with increased effort at deriving and applying cognitive
     science theories to the problems of user interface design.

     6. Developing user-centered design methods

     Where design guidelines and theoretical models of interaction fail to provide sufficient
     answers, design teams resort to usability tests of their user interfaces. Cognitive scientists
     have contributed to this effort by providing the methodological and analytical perspective
     that informs evaluation practice.

     Within HCI there are three basic evaluation methods: expert-based, model-based and
     user-based. As indicated above, expert-based approaches assess an interface for
     compliance with known design principles and guidelines. As I have indicated, most of



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     these guidelines are the products of cognitive science oriented research. Model-based
     approaches fall directly from the models mentioned in the previous section. They are the
     application of theoretical models to specific design questions and are almost always
     applied by those who have received some training in cognitive science. Both of these
     approaches are seen as fast and relatively cost-effective, but they are known to be limited
     in what they can predict.

     User-based approaches, as the name suggests, involve testing an interface with a sample
     of representative users in an appropriate context. There are as many variations on this
     theme as there are cognitive science methods of enquiry, ranging from controlled
     laboratory trials akin to psychology experiments, to field-based explorations derived from
     anthropological methods.

     The pressures of design place demands on HCI professionals to produce fast answers and
     cognitive scientists have worked on problems of improving test method reliability and
     validity. Current emphases include deriving better expert-based evaluation methods to
     overcome the rather poor validity of such methods (testers employing these methods tend
     to overestimate the number of problems users actually experience, that is, they label as
     problems many aspects of interfaces that users subsequently perceive as acceptable).
     Similarly, effort has been spent trying to package formal methods into tools that can be
     used effectively by non-cognitive scientists to predict usability. The dream of this
     approach is that software tools could be developed which designers would use to
     calculate learning effort or time to perform a task, without the designer having to know
     the details of how such an estimate is derived. The analogy is frequently made to the use
     engineers can make of the principles of physics. To date, few such tools have made the
     transition from research laboratory to design practice.



     7. Summary

     User interface design has proved to be a complicated process that requires detailed
     analysis of human performance and preference. Furthermore, developments in
     technology require an understanding of the emotional and trust aspects of interaction that



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     have yet to be studied in detail by cognitive scientists. As a form of applied cognitive
     science, interface design is a fruitful testing ground for a range of cognitive theories and
     methods, and this is only the beginning. Further developments in the area of digital
     technologies will create ubiquitous computing devices that will surround us at work, in
     leisure and in our public and private lives. In such cases, cognitive scientists will be
     called on to aid the design and to study the impact of such technologies routinely, and
     theory will meet practice in a manner that is likely to be hugely important for our future
     well-being.

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     Glossary

     User interface design

     Human Computer Interaction

     Applied Cognitive Science

     Definitions

     Human-Computer Interaction: the field of study concerned with the design and
     implementation of humanly usable and socially acceptable information technologies




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     Usability: the effectiveness, efficiency and satisfaction with which specific users can
     perform given tasks in a particular environment with a software application.

     Word Processor Used- MS Word 98 for Macintosh




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